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  IT IS ORDERED as set forth below:



  Date: December 30, 2019
                                              _____________________________________
                                                            Paul Baisier
                                                    U.S. Bankruptcy Court Judge

 _______________________________________________________________
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